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 4
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 7

 8                             IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                              CASE NO. 2:13-CR-00052 TLN
12                                Plaintiff,                STIPULATION REGARDING
                                                            EXCLUDABLE TIME PERIODS
13   v.                                                     UNDER SPEEDY TRIAL ACT;
                                                            FINDINGS AND ORDER
14   GILBERT ARREAZOLA and
     DERRICK DAVIS,
15
                                  Defendants,
16

17
                                                STIPULATION
18
            Plaintiff United States of America, by and through its counsel of record, defendant
19
20 DERRICK DAVIS, by and through his counsel of record, Scott N. Cameron, and GILBERT

21 ARREAZOLA, by and through his counsel of record, MICHAEL BIGELOW, hereby stipulate as

22 follows:

23
            1.      By previous order, this matter was set for status on May 1, 2013, at 9:00 a.m.
24
            2.      By this stipulation, defendants now move to continue the status conference until May
25
     30, 2013, at 9:30 a.m., and to exclude time between May 1, 2013, and May 30, 2013, under Local
26
     Code T4. Plaintiff does not oppose this request.
27

28          3.      The parties agree and stipulate, and request that the Court find the following:
                                                        1
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            a.      The government has produced discovery to the defense in this case which consists of
 1
     191 pages of written or photographic material and 9 compact disks of recorded audio materials.
 2

 3          b.      Scott N. Cameron, counsel for DERRICK DAVIS, has made an informal request for

 4 discovery of certain documents and the government is working on fulfilling that request.

 5          c.      Respective counsel for each defendant desires additional time to review the document
 6
     and audio file discovery, consult with their client regarding the discovery, conduct investigation, and
 7
     to discuss potential resolution with their client and the government.
 8
            d.      Counsel for each defendant believes that failure to grant the above-requested
 9

10 continuance would deny defendants the reasonable time necessary for effective preparation, taking

11 into account the exercise of due diligence.

12          e.      The government does not object to the continuance.
13          f.      Based on the above-stated findings, the ends of justice served by continuing the case
14
     as requested outweigh the interest of the public and the defendant in a trial within the original date
15
     prescribed by the Speedy Trial Act.
16
            g.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et
17

18 seq., within which trial must commence, the time period of May 1, 2013, to May 30, 2013, inclusive,

19 is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4] because it
20 results from a continuance granted by the Court at defendant’s request on the basis of the Court's

21
     finding that the ends of justice served by taking such action outweigh the best interest of the public
22
     and the defendant in a speedy trial.
23
     ///
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     ///
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26   ///

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                                                        2
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            4.      Nothing in this stipulation and order shall preclude a finding that other provisions of
 1
     the Speedy Trial Act dictate that additional time periods are excludable from the period
 2

 3 within which a trial must commence.

 4

 5 IT IS SO STIPULATED.

 6

 7
     DATED:         April 22, 2013
 8
 9                                         /s/ Jason Hitt___________________
                                           JASON HITT
10                                         Assistant United States Attorney

11
     DATED:         April 22, 2013
12

13                                         /s/ Scott Cameron
                                           SCOTT N. CAMERON
14                                         Counsel for DERRICK DAVIS

15
     DATED:         April 22, 2013
16

17                                         /s/ Michael Bigelow
                                           MICHAEL BIGELOW
18                                         Counsel for GILBERT ARREAZOLA

19
20

21                                                ORDER

22
            IT IS SO FOUND AND ORDERED this 23rd day of April, 2013.
23

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25
                                                            Troy L. Nunley
26                                                          United States District Judge
27

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                                                        3
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